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         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                            )
TIKTOK INC.,                                )
                                            )
and                                         )
                                            )
BYTEDANCE LTD.,                             )
                                            )
                            Petitioners,    )
                                            )
     v.                                     )
                                            )
THE COMMITTEE ON FOREIGN                    )
INVESTMENT IN THE UNITED STATES, )
                                            ) No. ________________
STEVEN T. MNUCHIN, in his official          )
capacity as Secretary of the Treasury and )
Chairperson of the Committee on Foreign )
Investment in the United States,            )
                                            )
DONALD J. TRUMP, in his official            )
capacity as President of the United States, )
                                            )
and                                         )
                                            )
WILLIAM P. BARR, in his official capacity )
as United States Attorney General,          )
                                            )
                            Respondents.    )
                                            )


                      PETITION FOR REVIEW

     Pursuant to Section 721 of the Defense Production Act (50 U.S.C.

§ 4565(e)(2)) and Rule 15(a) of the Federal Rules of Appellate Procedure,
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TikTok Inc. and ByteDance Ltd. hereby petition this Court for review of

the Presidential Order Regarding the Acquisition of Musical.ly by

ByteDance Ltd., 85 Fed. Reg. 51,297 (Aug. 14, 2020) (the “Divestment

Order”), and the related action of the Committee on Foreign Investment

in the United States (“CFIUS”), including its determination to reject

mitigation, truncate its review and investigation, and refer the matter to

the President (collectively, the “CFIUS Action”).1 This Court has original

and exclusive jurisdiction to hear Petitioners’ challenges.      50 U.S.C.

§ 4565(e)(2); see also Ralls Corp. v. CFIUS, 758 F.3d 296, 311 (D.C. Cir.

2014); Chamber of Commerce of U.S. v. Reich, 74 F.3d 1322, 1327–28

(D.C. Cir. 1996).

     The Divestment Order and the CFIUS Action seek to compel the

wholesale divestment of TikTok, a multi-billion-dollar business built on

technology developed by Petitioner ByteDance Ltd. (“ByteDance”), based

on the government’s purported national security review of a three-year-

old transaction that involved a different business. This attempted taking




1A copy of the Divestment Order and CFIUS’s July 30, 2020 letter to
Petitioners memorializing the CFIUS Action are attached to this
Petition.

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exceeds the authority granted to Respondents under Section 721, which

authorizes CFIUS to review and the President to, at most, prohibit a

specified “covered transaction” to address risks to national security

created by that transaction.       Here, that covered transaction was

ByteDance’s acquisition of the U.S. business of another Chinese-

headquartered company, Musical.ly—a transaction that did not include

the core technology or other aspects of the TikTok business that have

made it successful and yet which the Divestment Order now seeks to

compel ByteDance to divest.

     The Divestment Order and CFIUS Action are also unlawful in other

respects.   They violated the Due Process Clause because they

prematurely terminated the review to which Petitioners were entitled

and denied them a meaningful hearing. The CFIUS Action violated the

Administrative Procedure Act because the agency failed to adequately

explain its decision and did not take account of the alternative mitigation

proposals submitted by Petitioners. Finally, the forced divestment of

Petitioners’ business without fair compensation would constitute an

unlawful taking under the Fifth Amendment.




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     To facilitate this Court’s consideration of this Petition for Review,

Petitioners summarize the pertinent factual background and the legal

claims they intend to raise.2

              Background and Nature of Proceedings

     CFIUS’s Authority Over Certain “Covered Transactions”

     1.    CFIUS is an interagency committee authorized under Section

721 to “review” and “investigat[e]” a “covered transaction” to determine

its effects on national security.3 50 U.S.C. § 4565(b)(1)(A)–(B). Congress

defined a “covered transaction” to include “[a]ny merger, acquisition, or




2 Because Congress established the original and exclusive jurisdiction of
this Court over CFIUS petitions for review recently, in 2018, Pub. L. No.
115-232, sec. 1715(2), 132 Stat. 1636, 2191, (50 U.S.C. § 4565(e)(2)),
Petitioners are filing a Petition for Review that is more detailed than may
be required by Federal Rule of Appellate Procedure 15(a) to provide
background on the statutory and regulatory scheme and factual
allegations. See Am. Paper Inst. v. ICC, 607 F.2d 1011, 1012 (D.C. Cir.
1979) (per curiam). Petitioners reserve their rights to raise additional
facts and arguments in the briefing on the merits. See, e.g., CropLife Am.
v. EPA, No. 02-1057, 2002 WL 1461788, at *1 (D.C. Cir. July 8, 2002) (per
curiam).
3 Section 721 was enacted in 1988, Pub. L. 100-418, and amended several
times, most notably in the Foreign Investment and National Security Act
of 2007, Pub. L. 110-49, and the Foreign Investment Risk Review
Modernization Act of 2018, Pub. L. 115-232.

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takeover … by or with any foreign person that could result in foreign

control of any United States business.” Id. § 4565(a)(4)(B)(i).

     2.    Entities can voluntarily submit such transactions for review,

id. § 4565(b)(1)(A), and CFIUS can request that parties submit

transactions for review, 31 C.F.R. § 800.501(b). CFIUS’s review process

begins once it accepts a notice of a transaction filed by an entity, id.

§§ 800.501, 800.503(a), and must be completed within 45 days, 50 U.S.C.

§ 4565(b)(1)(F); 31 C.F.R. § 800.503(b). The statute provides that CFIUS

“shall” conduct an investigation if, inter alia, the initial review “results

in a determination that – the transaction threatens to impair the

national security” and the risk has not been mitigated, to be completed

within 45 days from the date the investigation is commenced. 50 U.S.C.

§ 4565(b)(2)(A), (B)(i)(I), (C)(i); 31 C.F.R. §§ 800.505(a), 800.508(a).

CFIUS may, during the review or investigation, “complete the action of

the Committee with respect to the transaction” and “refer the transaction

to the President for action.” 50 U.S.C. § 4565(l)(2).

     3.    Before action by CFIUS is completed or action by the

President is taken, CFIUS may “negotiate, enter into or impose, and

enforce any agreement or condition with any party to a completed covered


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transaction in order to mitigate any risk to the national security of the

United States that arises as a result of the covered transaction.” Id.

§ 4565(l)(3)(A)(i). Such actions “shall be based on a risk-based analysis,

conducted by the Committee, of the effects on the national security of the

United States of the covered transaction, which shall include an

assessment of the threat, vulnerabilities, and consequences to national

security related to the transaction.” Id. § 4565(l)(4)(A).

     4.    Congress authorized the President “to suspend or prohibit any

covered transaction” if the President finds that (i) there is credible

evidence that the foreign person acquiring the interest in the U.S.

business as a result of the covered transaction might take action that

threatens to impair the national security and (ii) provisions of law other

than Section 721 and the International Emergency Economic Powers Act

do not provide adequate and appropriate authority to protect the national

security of the United States in the matter before the President. Id.

§ 4565(d)(1), (4); 31 C.F.R. § 800.101.

     ByteDance’s Business

     5.    ByteDance Ltd. (“ByteDance”) is an innovative technology

company founded as a start-up in 2012 by Chinese entrepreneur Yiming



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Zhang. The company launched its first flagship app, Toutiao, the same

year. Toutiao is a news and content aggregating app, developed for the

Chinese market, that uses a proprietary “recommendation engine”

developed entirely in China by ByteDance’s team of elite engineers with

advanced training and expertise—and based upon cutting-edge machine

learning and artificial intelligence technology—to create a personalized

content feed for each user.

     6.    Based in large part on the innovation and commercial appeal

of ByteDance’s recommendation engine, Toutiao was a huge success.

Toutiao’s recommendation engine has influenced the core technology

developed for several of ByteDance’s other apps.          Building on the

experience with Toutiao and its recommendation engine, in September

2016, ByteDance launched in China a short entertainment video app

called Douyin, and ByteDance created another recommendation engine

for Douyin that recommends videos to Douyin users.           Like Toutiao,

Douyin was highly successful in China.

     7.    On May 12, 2017, ByteDance launched TikTok globally in

over 150 countries, including the United States. ByteDance developed

TikTok to be a short entertainment video app that serves a user base


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outside of China. When it launched TikTok, ByteDance leveraged its

experience with Toutiao and Douyin, and it developed another

recommendation engine that customizes each user’s content feed based

on how the user interacts with the content they watch.          TikTok is

operated separately from Douyin (and other ByteDance apps), and at no

time has TikTok been available in mainland China.

     ByteDance’s Acquisition of Musical.ly

     8.    Another app already in the marketplace at the time of

TikTok’s launch was Musical.ly, a music video app launched in 2014 and

developed by musical.ly (a Cayman parent company, together with its

subsidiaries, referred to herein as the “Musical.ly company”).          The

Musical.ly company was founded by two Chinese entrepreneurs,

headquartered in Shanghai, managed from China, and majority owned

and controlled by Chinese shareholders.

     9.    On November 23, 2017, ByteDance acquired the Musical.ly

company, which also had a small U.S. presence.         Out of nearly 300

Musical.ly company employees worldwide, 20 were based in the United

States, and they were not responsible for core operations, such as

software   and   product   development.      The   Musical.ly    app    had



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approximately 9.9 million U.S. registered monthly active users whose

data was stored in Japan. After completing the transaction, ByteDance

integrated some of the Musical.ly company’s U.S. assets—namely, the

Musical.ly app’s U.S. user base, some music licensing agreements and

other copyright agreements—into its TikTok business.

     10.     At the time of the acquisition, ByteDance examined the

Musical.ly app’s source code and determined that Musical.ly’s platform—

the mobile software application, server and data storage infrastructure,

and its algorithm powering recommendations for user content—was

technically and commercially inferior to TikTok.          ByteDance had

significantly better engineering infrastructure than Musical.ly, with a

more experienced engineering team that was ten times larger.            The

ByteDance development and engineering teams determined that,

although Musical.ly’s app was superficially similar to TikTok, the

technology    developed   by   ByteDance,   and    particularly   TikTok’s

recommendation engine, was much more sophisticated.

     11.     As a result, starting in February 2018, ByteDance abandoned

the Musical.ly code base and technology, including Musical.ly’s

recommendation engine, operation system, user growth, and marketing


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tools. ByteDance kept, for a time, the Musical.ly name, but over the

course of 2018, it phased out Musical.ly’s back-end operations and

technology and combined its user base with the users of the app that

ByteDance had started, namely, TikTok. In August 2018, ByteDance

stopped offering the Musical.ly app.

     12.    In short, the TikTok technology platform—which is among the

most important drivers of its astounding growth and popularity—was not

acquired by ByteDance from the Musical.ly company but instead

developed by ByteDance before the Musical.ly acquisition had even

occurred.

     13.    In addition to utilizing TikTok’s superior technology,

including its recommendation engine, ByteDance significantly increased

brand and content promotional spending compared to that of the

Musical.ly company. ByteDance expanded promotions and marketing

activities in the United States to include out-of-home advertising,

television commercials, and key opinion leader marketing as well as

campaigns related to specific events and holidays.           Whereas the

Musical.ly company had spent only about $300,000 on advertising in the

United States in 2017 before it was acquired by ByteDance in November


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of that year, Petitioners spent more than $300 million on U.S. advertising

for TikTok in 2019, the first full year after the Musical.ly app was

abandoned.

     14.   ByteDance also supported TikTok by dramatically expanding

its U.S.-based business. Whereas prior to the acquisition the Musical.ly

company had just 20 U.S. employees, Petitioners hired hundreds of U.S.

employees led by a U.S.-based leadership team deeply committed to

protecting U.S. user data privacy and security, and to promoting U.S.-led

content moderation and localized community guidelines.

     15.   The improved technological infrastructure and ByteDance’s

superior commercial strategy bore fruit and significantly increased

TikTok’s U.S. user base independently of what ByteDance acquired as

part of the Musical.ly company. Although the Musical.ly app had 9.9

million monthly active U.S. users at the time of the transaction in

November 2017, today there are 98 million monthly active U.S. users on

the TikTok platform, making TikTok the fastest growing app in the

country during that period.




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     The CFIUS Proceeding

     16.    The parties did not submit the Musical.ly transaction to

CFIUS for review in 2017 because ByteDance was a Chinese-

headquartered    company     and   Musical.ly    was    also    a    Chinese-

headquartered company; the Musical.ly company had only a small U.S.

presence; and the product was a short form music video app that did not

appear to raise any U.S. national security concerns. Nevertheless, on

October 15, 2019, CFIUS sent ByteDance a set of questions regarding its

acquisition of Musical.ly. After several months of responding to CFIUS’s

questions and making presentations to CFIUS, on May 27, 2020, at

CFIUS’s request, ByteDance submitted a formal notice to CFIUS

regarding its acquisition of the U.S. business of Musical.ly.

     17.    On June 15, 2020, CFIUS informed ByteDance by letter that

on June 16, 2020, it would initiate its formal review of a covered

transaction—ByteDance’s      acquisition   of   the    “U.S.    Business   of

Musical.ly”—triggering a 45-day statutory-review period.            50 U.S.C.

§ 4565(b)(1)(F); 31 C.F.R. § 800.503(b). Over the next several weeks,

ByteDance submitted extensive responses to hundreds of questions posed

by CFIUS.



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     18.   Around July 7, 2020, however—only three weeks into the 45-

day review process—the government abruptly cut short that process and

threatened to force the divestiture of TikTok. In the preceding weeks,

news media had reported that TikTok users claimed to have used TikTok

to coordinate mass ticket reservations for the President’s June 20, 2020

campaign rally in Tulsa, depressing attendance and causing an

embarrassment for the campaign. Shortly thereafter, on July 6, 2020,

Secretary of State Mike Pompeo said that the United States was

considering banning TikTok.       Within days of Secretary Pompeo’s

statement, Treasury Department officials informed ByteDance that it

would need to propose a divestiture of TikTok to resolve the matter.

     19.   Even though the Treasury Department’s demand lacked any

legal foundation, ByteDance submitted a term sheet on July 15 that

proposed a national security mitigation solution in an effort to address

its concerns. ByteDance submitted another such proposal on July 29,

and on July 30, the day before the 45-day statutory review period ended,

submitted with Microsoft Corporation a letter of intent regarding a

potential transaction involving TikTok.




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     20.    As noted above, if CFIUS identifies a national security

concern with the covered transaction during the initial 45-day statutory

review period, the statute and regulation contemplate that CFIUS “shall”

conduct an investigation that may last for an additional 45 days, 50

U.S.C. § 4565(b)(2)(A), (B)(i)(I), (C)(i); 31 C.F.R. § 800.505(a), 800.508(a),

which period gives CFIUS the opportunity to investigate the facts

thoroughly and, if CFIUS has concerns about the transaction, engage in

detailed consultations regarding potential mitigation of its concerns with

the entities involved in the transaction. After its investigation, if CFIUS

rejects mitigation, CFIUS sends a letter to the entity, as required by this

Court’s decision in Ralls, 758 F.3d at 319 (addressing the predecessor

statutory CFIUS scheme), detailing the unclassified basis of its findings

and affording the entity the opportunity to respond before determining

whether to issue a report to the President.

     21.    In this case, CFIUS dramatically departed from this statutory

and regulatory scheme and well-established agency practice. Instead of

the deliberative process required by Section 721, Treasury officials

summarily conveyed to Petitioners CFIUS’s intent to force a divestment

even though the Committee’s staff was continuing to gather facts to


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inform its statutorily required risk-based analysis. CFIUS itself never

responded to Petitioners’ proposed mitigation solutions and never

explained why these mitigation solutions were inadequate, nor did it

offer any counter-proposals for mitigation.

     22.   On July 30, 2020, at the end of the 45-day review period,

CFIUS notified Petitioners by letter that CFIUS was “undertaking an

investigation of the transaction,” commencing the 45-day statutory

investigation period. Just a few hours later, however, CFIUS informed

ByteDance in a separate letter that it had rejected ByteDance’s

mitigation proposals and had not identified adequate mitigation

measures, without any explanation of the basis for that determination.

The letter stated summarily that ByteDance’s two mitigation proposals

“do not adequately address” the Committee’s concerns. The letter also

stated that CFIUS “anticipate[d]” that it would “refer the matter to the

President for decision.” CFIUS then—the very next day—referred the

matter to the President without affording ByteDance a meaningful

opportunity to respond to CFIUS’s determination to reject mitigation and

instead refer the matter to the President. This summary determination

rejecting mitigation, truncating CFIUS’s review and investigation, and


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referring the matter to the President (collectively, the “CFIUS Action”)

“complete[d]” CFIUS’s action with respect to the transaction, 50 U.S.C.

§ 4565(l)(2).

      23.   On August 7, 2020, ByteDance responded to the July 30

CFIUS letter, demonstrating that many of the factual findings in the

letter were inaccurate or outdated and reiterating its request for prompt

and meaningful engagement with CFIUS. To date, ByteDance has not

received a substantive response to its August 7 letter.

      The Divestment Order

      24.   On August 14, 2020, the President issued the Divestment

Order. The Order asserted, again without explanation, that ByteDance,

through its acquisition of Musical.ly, “might take action that threatens

to impair the national security of the United States.” The Divestment

Order prohibited ByteDance’s acquisition of the Musical.ly company and

directed ByteDance to “divest all interests and rights in (i) any tangible

or intangible property, wherever located, used to enable or support

ByteDance’s operation of the TikTok application in the United States …

[and] (ii) any data obtained or derived from TikTok application or

Musical.ly application users in the United States.”       The Divestment



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Order states that it takes effect on November 12, 2020, unless CFIUS

grants a 30-day extension.

     25.   Before the issuance of the Divestment Order, President

Trump stated that he might be willing to approve a mitigation proposal

involving a transaction with a U.S. acquirer in lieu of a ban, so long as

the government would receive a “substantial portion” of any price paid by

the acquirer.

     26.   While Petitioners believed the Divestment Order to be

unlawful, they continued to explore mitigation alternatives with the

government to try to achieve a resolution that would obviate the need for

litigation. To that end, on September 13, Petitioners proposed a multi-

layered approach to security of the TikTok app and its U.S. user data to

fully address any national security concerns.

     27.   On September 19, 2020, the President informed reporters that

he had given his “blessing” to and “approved … in concept” that

September 13 mitigation proposal.4 The President also indicated that the




4Rachel Lerman, “Trump says he has given his ‘blessing’ to TikTok deal
but that final terms are still being negotiated,” Washington Post (Sep. 19,
2020).

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agreement involved “about a $5 billion contribution toward education,”

but did not specify the source of the investment or the purpose for which

it would be used.5 During a campaign rally that evening, the President

announced what he alleged to be a new term of the proposed TikTok

agreement. Specifically, he stated that the U.S. government had a “deal

worked out,” in which the parties to the deal would “pay $5 billion into a

fund for education” so that “we can educate people as to the real history

of our country.”6 Petitioners had not agreed to contribute to such a fund.

          28.   On November 6, 2020, ByteDance submitted a fourth

mitigation proposal, which contemplated addressing the purported

national security concerns through a restructuring of TikTok U.S. by

creating a new entity, wholly owned by Oracle, Walmart and existing

U.S. investors in ByteDance, that would be responsible for handling

TikTok’s U.S. user data and content moderation.              To allow time to

negotiate the final terms of a mitigation solution, ByteDance requested

that CFIUS extend by 30 days the deadline for complying with the


5   Id.
6 Demetri Sevastopulo & James Fontanella-Khan, “Doubts surround
‘education fund’ at heart of US TikTok deal,” Financial Times (Sept. 20,
2020).

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Divestment Order, which the Order itself authorized. As of this filing, no

extension has been granted.

     29.   From the time the Divestment Order was issued, Petitioners

have been engaged in discussions with CFIUS in an effort to reach a

mitigation solution that would avoid litigation. Petitioners had hoped it

would not be necessary to seek judicial intervention, but given that the

Divestment Order mandates divestment by November 12, Petitioners

have no choice but to file this Petition to preserve their rights.

Petitioners remain committed to reaching a negotiated mitigation

solution with CFIUS satisfying its national security concerns, and they

intend to file a motion to stay enforcement of the Divestment Order only

if discussions reach an impasse and the government indicates an intent

to take action to enforce the Order.

                Grounds On Which Relief Is Sought

     Petitioners seek review of the CFIUS Action and Divestment Order

on grounds that include, without limitation, the following.

                    Ground 1: Ultra Vires Action

     30.   The CFIUS Action and the Divestment Order exceed the scope

of the government’s authority under Section 721 of the Defense


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Production Act and are ultra vires, because they (i) seek to compel

divestment of assets that were not part of, and (ii) seek to address

purported national security risks that do not arise out of, the “covered

transaction.” See 50 U.S.C. § 4565(d)(1) (limiting Presidential action to

covered transactions and risks threatened from such transactions); id.

§ 4565(b)(1), (2) (limiting CFIUS “national security reviews and

investigations” to covered transactions).

      31.        The CFIUS Action and Divestment Order are ultra vires

because they seek to compel the divestment of assets that were not part

of the covered transaction. Congress in Section 721 authorized CFIUS to

review and investigate only a “covered transaction to determine the

effects     of    the   transaction”   on    national   security.   50   U.S.C.

§ 4565(b)(1)(A)(i), see also id. § 4565(b)(2) (authorizing “investigation of

the effects of a covered transaction on the national security”). During its

“review or investigation of a covered transaction,” CFIUS may “complete

the action of the Committee with respect to the transaction and refer the

transaction” to the President for action or impose conditions on “the

covered transaction in order to mitigate any risk to the national security

of the United States that arises as a result of the covered transaction.”


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Id. § 4565(l)(2), (3)(A)(i). The President, in turn, has authority to, at

most, “suspend or prohibit any covered transaction that threatens to

impair the national security of the United States.” Id. § 4565(d)(1).

     32.      The plain text of Section 721 thus limits the authority of

CFIUS and the President to the covered transaction: CFIUS may refer

only a “covered transaction” to the President, and the President may

suspend or prohibit only a “covered transaction.”

     33.      Yet the CFIUS Action and Divestment Order ignore that

limitation.

        a. The CFIUS Action—the determination that national security

              risk arising from the transaction could not be mitigated and

              the referral to the President—exceeded this statutory

              authority because it was directed at the TikTok U.S. business

              in its entirety, even though the “covered transaction” under

              review was ByteDance’s acquisition of the U.S. business of the

              Musical.ly company.

        b. The Divestment Order exceeded statutory authority because

              it mandated that ByteDance divest the entire U.S. TikTok

              business and all data and assets associated with it, and thus


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      was not limited to the U.S. business of the Musical.ly company

      that was the covered transaction.

   c. The Musical.ly brand has been completely phased out of

      Petitioners’ TikTok U.S. business for more than two years,

      and only 3.2 million of TikTok’s 98 million monthly active U.S.

      users had a Musical.ly app account at the time of the

      transaction. The TikTok U.S. business—its technology, its

      value,   its   employees,     locations,   contracts,   and   the

      overwhelming majority of its users and their data—is a

      product of ByteDance that was not derived from the U.S.

      business of Musical.ly, and thus was not part of the “covered

      transaction,” and the President accordingly did not have the

      authority to order its divestment.

   d. The CFIUS Action and the Divestment Order ignored these

      facts, all of which Petitioners provided to CFIUS during its

      months-long gathering of information. The CFIUS Action

      targeted TikTok and its “approximately 133 million users”

      even though neither TikTok nor the vast majority of its users

      were acquired by ByteDance as part of the Musical.ly


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      company transaction.       The Divestment Order similarly

      purports to require ByteDance to divest “any tangible and

      intangible assets or property, wherever located, used to

      enable or support ByteDance’s operation of the TikTok

      application in the United States” and “any data obtained or

      derived from TikTok application or Musical.ly application

      users in the United States”—in other words, assets that had

      nothing to do with ByteDance’s acquisition of Musical.ly or

      the U.S. business of Musical.ly or its U.S. assets and, in

      critical aspects, encompassed assets that are not and never

      have been in the United States.

   e. Neither the CFIUS Action nor the Divestment Order even

      attempt to justify a divestment of the scope and character

      demanded.     Instead, they merely assert that “ByteDance

      merged its TikTok application with Musical.ly’s social media

      application and created a single integrated social media

      application.” While Musical.ly’s 9.9 million monthly active

      users migrated to TikTok, and the U.S. Musical.ly entities

      were renamed to reflect that the Musical.ly app and brand


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           had been abandoned, the CFIUS Action and Divestment

           Order do not explain how this could subject the entire TikTok

           U.S. business to divestment under CFIUS authority,

           including the technology used to support and the data derived

           from that business—which indisputably was not part of the

           covered transaction.

     34.   The CFIUS Action and Divestment Order are ultra vires for

the additional reason that they seek to address purported national

security risks that do not arise out of the “covered transaction.” Section

721 limits CFIUS’s authority to the review and investigation of “the

effects of a covered transaction on the national security of the United

States.” 50 U.S.C. § 4565(b)(1)(A)(i), (2)(A) (emphasis added). Before

completion of CFIUS’s review or investigation, it may “mitigate any risk

to the national security of the United States that arises as a result of the

covered transaction.”    Id. § 4565(l)(3)(A)(i) (emphasis added).        And

CFIUS may make a referral to the President based only on “a risk-based

analysis … of the effects on the national security of the United States of

the covered transaction.” Id. § 4565(l)(4)(A) (emphasis added).




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     35.     CFIUS’s regulations, in turn, provide that such a “risk based

analysis shall include credible evidence demonstrating the risk and an

assessment of the threat, vulnerabilities, and consequences to national

security related to the transaction.”    31 C.F.R. § 800.102 (emphasis

added). The President may act only “to suspend or prohibit any covered

transaction that threatens to impair the national security of the United

States.”     50 U.S.C. § 4565(d)(1) (emphasis added).        To mandate

divestment, the President must find that the foreign acquirer “as a result

of the covered transaction might take action that threatens to impair the

national security.” Id. § 4565(d)(4)(A) (emphasis added).

     36.     The statute thereby limits CFIUS’s and the President’s

authority to address national security risks arising as a result of the

covered transaction.     The statute does not authorize CFIUS or the

President to address preexisting national security risks or other national

security risks that do not result from the covered transaction. Yet in this

respect as well the CFIUS Action and Divestment Order exceed the limits

of the statute.

           a. The CFIUS Action and the Divestment Order exceed Section

             721’s grant of authority because the purported risks they


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      address do not arise “as a result of” the acquisition, which was

      an   acquisition    of    one   China-headquartered    company

      (Musical.ly)   by   another     China-headquartered    company

      (ByteDance). Rather, the risks cited by the government are

      associated with concerns relating to Chinese ownership of

      apps generally. Any threat posed by Chinese ownership of the

      Musical.ly app was present prior to the covered transaction,

      and is not a risk that arose as a result of the covered

      transaction. It is necessarily the case that whatever national

      security risks posed by the Musical.ly app and its Chinese

      ownership at the time of the acquisition were not enlarged or

      changed by the acquisition of the Musical.ly company by

      another China-headquartered company, ByteDance.

   b. CFIUS did not explain how the covered transaction—the

      acquisition    of   one    China-headquartered    company     of

      another—results in an incremental national security risk.

      Nor does the Divestment Order, which is even more sparse

      and merely parrots the statutory language, declaring that

      ByteDance, through the transaction, “might take action that


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           threatens to impair the national security of the United

           States.”

        c. Because the CFIUS Action and Divestment Order are

           predicated on perceived threats that are not a result of the

           covered transaction, they are unlawful. Cf. Dep’t of Defense

           Instr. No. 2000.25, DoD Procedures for Reviewing and

           Monitoring Transactions Filed with the Committee on

           Foreign Investment in the United States (CFIUS) at 32 (“If

           the only risk that exists after the transaction is the same risk

           that existed before the transaction, then that risk is not

           considered   an   appropriate    rationale   for   CFIUS-based

           mitigation.”).

                Ground 2: Violation of Due Process

     37.   CFIUS’s rejection of mitigation, truncation of its review and

investigation, and referral of the matter to the President, and the manner

in which the Divestment Order was issued, violated Petitioners’ Fifth

Amendment due process rights.

     38.   In a CFIUS proceeding involving divestiture, “due process

requires, at the least, that an affected party be informed of the official


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action, be given access to the unclassified evidence on which the official

actor relied and be afforded an opportunity to rebut that evidence.” Ralls,

758 F.3d at 307–14, 319. Petitioners here have protected interests in

their assets subject to divestment, such that they are entitled to due

process under the Fifth Amendment. Id. at 315–16.

     39.   Petitioners were not afforded a meaningful opportunity to

review or respond to the facts upon which the CFIUS Action and

Divestment Order purported to be based. Although Petitioners were

permitted to provide information to CFIUS, they were not “given access

to the unclassified evidence on which the official actor relied” or “afforded

an opportunity to rebut that evidence.” Ralls, 758 F.3d at 319.

     40.   The July 30 letter announcing the CFIUS action was cursory,

conclusory, and unsubstantiated. The letter failed to address key points

necessary for ByteDance to understand CFIUS’s concerns and have a

meaningful opportunity to respond to them. And CFIUS addressed its

supposed concerns—the most important issue in a CFIUS review—in a

single, conclusory sentence.      Beyond this one conclusory sentence,

CFIUS’s findings in the July 30 letter either were so broad as to apply to

every company active in China; were based on inaccurate or outdated


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news reports; or were unsupported or, in some cases, directly

contradicted by the record before CFIUS.         While Treasury officials

expressed their intent to conclude that the agency had concerns, CFIUS

itself never informed ByteDance of its concerns prior to announcing the

CFIUS action on July 30 and did not provide any explanation for its

determination that the purported national security risks could not be

adequately    mitigated   other   than   through    complete   divestiture.

Moreover, CFIUS’s determination concluding CFIUS’s action was issued

only a few hours before the referral to the President, precluding

ByteDance from a meaningful opportunity to respond.

    Ground 3: Violation of the Administrative Procedure Act

     41.     The CFIUS Action was arbitrary, capricious, and unlawful.

See 5 U.S.C. § 706(2).

     42.     To survive APA scrutiny, “the agency must examine the

relevant data and articulate a satisfactory explanation for its action [that

is] based on a consideration of the relevant factors ….” Motor Vehicle

Mfrs. Ass’n. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

“The requirement that agency action not be arbitrary or capricious

includes a requirement that the agency adequately explain its result.”


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Pub. Citizen, Inc. v. FAA, 988 F.2d 186, 197 (D.C. Cir. 1993). Moreover,

an agency must “consider significant alternatives to the course it

ultimately chooses.” Allied Local & Reg’l Mfrs. Caucus v. EPA, 215 F.3d

61, 80 (D.C. Cir. 2000).

     43.   The    CFIUS     Action        relied   almost   exclusively   on

uncorroborated third-party reports and ignored significant evidence

presented by Petitioners that refuted CFIUS’s stated concerns.            In

particular, the CFIUS Action failed to consider or explain why the steps

that ByteDance was willing to undertake to mitigate CFIUS’s purported

national security concerns were inadequate. Petitioners submitted two

detailed proposed term sheets on July 15 and July 29, 2020. CFIUS’s

July 30 letter announcing its action—sent the day after the second term

sheet was submitted—stated summarily that CFIUS “considered the

feasibility” of the proposals and that the mitigation proposals “do not

adequately address” the government’s concerns.

     44.   The July 30 letter articulates no national security concerns

that could not have been resolved by either proposal. To the contrary,

the only justification for CFIUS’s conclusion was that “as ByteDance

currently operates, company leadership and personnel in China remain


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significantly involved in both the day-to-day operations and broader

strategic direction of TikTok, reducing the likelihood that any U.S.-based

personnel could successfully detect, disclose, and defeat actions to impair

U.S. national security.” The explanation is a non sequitur: ByteDance’s

mitigation proposals contemplated significant alterations to the current

operation of TikTok in the United States, which the government’s public

statements have indicated could be adequate.

     45.   In short, CFIUS chose the harshest measure available under

the statute—a referral to the President for divestiture—without

considering alternatives, trying to craft a narrower solution, or providing

a cogent explanation of why divestiture was justified over such

alternatives.   That failure renders CFIUS’s action arbitrary and

capricious. Where, as here, interested parties propose an alternative that

“was neither frivolous nor out of bounds,” it is reversible error for an

agency to fail to consider that alternative. Chamber of Commerce v. SEC,

412 F.3d 133, 145 (D.C. Cir. 2005).




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                Ground 4: Unconstitutional Taking

     46.   The Presidential Order constitutes an unlawful taking

without just compensation, in violation of the Fifth Amendment’s Taking

Clause.

     47.   The Order effectively leaves ByteDance no choice but to either

(i) forfeit all of its assets in and data derived from the TikTok U.S.

business to the government or a government-approved entity, on

whatever conditions the government decides to impose, or, (ii) if such an

agreement cannot be reached, abandon the TikTok U.S. business.

     48.   This forced divestiture mandated by the government, which

would permanently deprive ByteDance of its property without

compensation, is a classic taking. The government has taken virtually

all of the “sticks” in the “bundle” of property rights ByteDance possesses

in its TikTok U.S. platform, leaving it with no more than the twig of

potentially being allowed to make a rushed, compelled sale, under

shifting and unrealistic conditions, and subject to governmental

approval. See Nollan v. Cal. Coastal Comm’n, 483 U.S. 825, 831 (1987).

This “mandate to relinquish specific, identifiable property” thus “effects

a per se taking.” Horne v. Dep’t of Agric., 576 U.S. 350, 364–65 (2015).


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     49.     Prospective relief is warranted where, as here, just

compensation would not be available if the unlawful order is enforced.

See Eastern Enterprises v. Apfel, 524 U.S. 498, 521–22 (1998) (plurality

op.) (collecting cases involving “the lack of a compensatory remedy” in

which the Court has “granted equitable relief for Takings Clause

violations” and concluding that “declaratory judgment and injunction

sought by petitioner constitute an appropriate remedy under the

circumstances”); Duke Power Co. v. Carolina Envtl. Study Grp., Inc., 438

U.S. 59, 71 n.15 (1978) (providing declaratory relief on a takings claim

because challenged action could produce “potentially uncompensable

damages”).

     50.     This taking cannot be defended as a bona fide exercise of

regulatory authority. The factors in Penn Cent. Transp. Co. v. City of

New York, 438 U.S. 104, 123–24 (1978), support the conclusion that the

Divestment Order is an unconstitutional taking. The economic impact of

the divestment is severe, it profoundly interferes with ByteDance’s

reasonable investment-backed expectations, and it does not actually

further the purported purpose of protecting national security.




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                           Requested Relief

     Petitioners request that this Court hold unlawful, vacate, enjoin,

and set aside the Divestment Order and the CFIUS Action, and grant

any further relief that may be appropriate.



DATED: November 10, 2020             Respectfully submitted,

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Anders Linderot                     Alexander A. Berengaut
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         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                            )
TIKTOK INC.,                                )
                                            )
and                                         )
                                            )
BYTEDANCE LTD.,                             )
                                            )
                            Petitioners,    )
                                            )
     v.                                     )
                                            )
THE COMMITTEE ON FOREIGN                    )
INVESTMENT IN THE UNITED STATES, )
                                            ) No. ________________
STEVEN T. MNUCHIN, in his official          )
capacity as Secretary of the Treasury and )
Chairperson of the Committee on Foreign )
Investment in the United States,            )
                                            )
DONALD J. TRUMP, in his official            )
capacity as President of the United States, )
                                            )
and                                         )
                                            )
WILLIAM P. BARR, in his official capacity )
as United States Attorney General,          )
                                            )
                            Respondents.    )
                                            )


            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure

and Circuit Rule 26.1, Petitioners state as follows:
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     ByteDance Ltd. (“ByteDance”) is a private company incorporated in

the Cayman Islands. ByteDance owns several content platforms that

enable people around the world to connect with, consume, and create

entertainment content, including TikTok.         TikTok is an inclusive

platform for short-form mobile videos with over two billion global

downloads and 98 million monthly active users in the United States.

     TikTok Inc. is an indirect wholly owned subsidiary of ByteDance.

All of the outstanding shares of capital stock of TikTok Inc. are held by

TikTok LLC, a Delaware limited liability company, which in turn is

wholly owned by TikTok Ltd., a Cayman entity, which in turn is wholly

owned by ByteDance.




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DATED: November 10, 2020            Respectfully submitted,

                                   /s/ Beth S. Brinkmann
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                                   Attorneys for Petitioners




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                     CERTIFICATE OF SERVICE

     I hereby certify that on this 10th Day of November, I caused copies

of the foregoing Petition for Review and Corporate Disclosure Statement

to be served upon the parties listed below by first class mail, postage

prepaid, to:

Committee on Foreign Investment in the United States
U.S. Department of the Treasury
1500 Pennsylvania Ave. NW
Washington, DC 20220

Steven T. Mnuchin
Secretary of the Treasury of the United States
U.S. Department of the Treasury
1500 Pennsylvania Ave. NW
Washington, DC 20220

Donald J. Trump
President of the United States
The White House
1600 Pennsylvania Ave. NW
Washington, DC 20500

William P. Barr
United States Attorney General
950 Pennsylvania Ave. NW
Washington, DC 20530


                                        /s/ Beth S. Brinkmann
                                        Beth S. Brinkmann
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            Exhibit A
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                                 (i) until ByteDance notifies CFIUS in writing of the intended recipient
                                 or buyer; and
                                 (ii) unless 10 business days have passed from the notification in section
                                 2(d)(i) and CFIUS has not issued an objection to ByteDance. Among the
                                 factors CFIUS may consider in reviewing the proposed sale or transfer
                                 are whether the buyer or transferee: is a U.S. citizen or is owned by
                                 U.S. citizens; has or has had a direct or indirect contractual, financial,
                                 familial, employment, or other close and continuous relationship with
                                 ByteDance, or its officers, employees, or shareholders; and can demonstrate
                                 a willingness and ability to support compliance with this order. In addition,
                                 CFIUS may consider whether the proposed sale or transfer would threaten
                                 to impair the national security of the United States or undermine the
                                 purpose of this order, and whether the sale effectuates, to CFIUS’s satisfac-
                                 tion and in its discretion, a complete divestment of all tangible or intangible
                                 assets or property, wherever located, used to enable or support the oper-
                                 ation of the TikTok application in the United States.
                                 (e) From the date of this order until ByteDance provides a certification
                               of divestment to CFIUS pursuant to section 2(b), ByteDance and TikTok
                               Inc., a Delaware corporation, shall certify to CFIUS on a weekly basis that
                               they are in compliance with this order and include a description of efforts
                               to divest the interests and rights described in section 2(b) and a timeline
                               for projected completion of remaining actions.
                                 (f) Any transaction or other device entered into or employed for the
                               purpose of, or with the effect of, evading or circumventing this order is
                               prohibited.
                                 (g) Without limitation on the exercise of authority by any agency under
                               other provisions of law, and until such time as the divestment is completed
                               and verified to the satisfaction of CFIUS, CFIUS is authorized to implement
                               measures it deems necessary and appropriate to verify compliance with
                               this order and to ensure that the operations of the TikTok application
                               are carried out in such a manner as to ensure protection of the national
                               security interests of the United States. Such measures may include the
                               following: on reasonable notice to ByteDance and TikTok Inc., employees
                               of the United States Government, as designated by CFIUS, shall be permitted
                               access, for purposes of verifying compliance with this order, to all premises
                               and facilities of ByteDance and TikTok Inc., and any of their respective
                               subsidiaries, operated in furtherance of the TikTok application located in
                               the United States:
                                 (i) to inspect and copy any books, ledgers, accounts, correspondence,
                                 memoranda, and other records and documents in the possession or under
                                 the control of ByteDance or TikTok Inc., or any of their respective subsidi-
                                 aries, that concern any matter relating to this order;
                                 (ii) to inspect or audit any information systems, networks, hardware, soft-
                                 ware, data, communications, or property in the possession or under the
                                 control of ByteDance or TikTok Inc., or any of their respective subsidiaries;
                                 and
                                  (iii) to interview officers, employees, or agents of ByteDance or TikTok
                                  Inc., or any of their respective subsidiaries, concerning any matter relating
                                  to this order. CFIUS shall conclude its verification procedures within
                                  90 days after the certification of divestment is provided to CFIUS pursuant
                                  to subsection (b) of this section.
                                  (h) If any provision of this order, or the application of any provision
                               to any person or circumstances, is held to be invalid, the remainder of
                               this order and the application of its other provisions to any other persons
                               or circumstances shall not be affected thereby. If any provision of this
                               order, or the application of any provision to any person of circumstances,
                               is held to be invalid because of the lack of certain procedural requirements,
                               the relevant executive branch officials shall implement those procedural
                               requirements.
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                                        (i) The Attorney General is authorized to take any steps necessary to
                                      enforce this order.
                                      Sec. 3. Reservation. I hereby reserve my authority to issue further orders
                                      with respect to ByteDance, Musical.ly, Musical.ly in the United States, and
                                      TikTok Inc. as shall in my judgment be necessary to protect the national
                                      security.
                                      Sec. 4. Publication and Transmittal. (a) This order shall be published in
                                      the Federal Register.
                                        (b) I hereby direct the Secretary of the Treasury to transmit a copy of
                                      this order to the appropriate parties named in section 1 of this order.




                                      THE WHITE HOUSE,
                                      August 14, 2020.


[FR Doc. 2020–18360
Filed 8–18–20; 11:15 am]
Billing code 3295–F0–P
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